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            IN THE UNITED STATES DISTRICT COURT FOR THE
                   NORTHERN DISTRICT OF FLORIDA
                        PENSACOLA DIVISION

UNITED STATES OF AMERICA,

vs.                                          Case No.: 3:19cr89/TKW

ALEXANDER X. EVANS
_________________________________________________________________

                    ACCEPTANCE OF PLEA OF GUILTY

      Pursuant to the Report and Recommendation of the United States Magistrate

Judge, to which there have been no timely objections, and subject to this Court’s

consideration of the Plea Agreement pursuant to Fed. R. Crim. P. 11, the plea of

guilty of the Defendant, ALEXANDER X. EVANS, to Counts I & VI of the

Superseding Indictment is hereby ACCEPTED. All parties shall appear before this

Court for sentencing as directed.

      DONE and ORDERED this 28th day of October, 2019.

                                    T. Kent Wetherell, II
                                T. KENT WETHERELL, II
                                UNITED STATES DISTRICT JUDGE
